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                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
Case No:              11-06997                         KML            Judge:        Keith M. Lundin                              Trustee Name:                      LARRY EDMONDSON
Case Name:            C3 CONSTRUCTION, LLC                                                                                       Date Filed (f) or Converted (c):   07/15/2011 (f)
                                                                                                                                 341(a) Meeting Date:               08/10/2011
For Period Ending:    07/31/2018                                                                                                 Claims Bar Date:                   11/30/2011


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

  1. REGIONS CHECKING                                                                         59.00                     59.00                                                        0.00                          FA
  2. BREACH OF CONTRACT SUIT PENDING IN WILLIAMSON                                       430,000.00                 430,000.00                                                       0.00                   430,000.00
     COUNTY CIRCUIT
  3. COMPUTER, LAPTOP COMPUTER, PRINTER, FAX, CELL                                           925.00                    925.00                                                        0.00                          FA
     PHONE, I PAD
  4. HOUSEHOLD GOODS                                                                           0.00                       0.00                                                       0.00                          FA


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $430,984.00              $430,984.00                                                      $0.00                    $430,000.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




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6/28/18 Mediation is set for October 1, 2018 and trial will take place later that month

4/18/18 Trajan has emailed that June 25, 2018 is the mediation date with Jim Kay
03/22/18 (email from Trajan Carney on 3/21/18) Chancellor Woodruff denied our Motion for Partial Summary Judgment. I am attaching a copy of the order for you file. Although I
am disappointed in the outcome, we still can present documented expenses for the unpaid subcontractors. We have also been ordered to mediate the case by August 1. And we
have a trial date in November. I have also attached the order setting the trial date and ordering mediation.

2/16/18 The motion for partial summary judgment was heard on Monday, February 5. Chancellor Woodruff took the matter under advisement. He also re uested additional
briefing on the remedy available to a contractor when he contracts above the monetary license. Briefs are due February 19.Also, the court ordered us to mediate. We are looking
at dates in April with Jim Kay serving as the mediator. Lastly, Water Shapes moved for a trial date. We are looking at November 13-16. I will keep you posted as we move
forward. Please call me if you have any uestions. My cell phone is .Trajan

November 28th, 2017. Phone conversation with Trajan Carney. Summary judgment motion is set for first week in January 2018.
6/27/17 Mr. E left message for Trajan Carney regarding case status
4/19/17 4/19/17 (Taken from Trajan Carney's email dated 3/31/17) Moving forward, we plan to file a Motion re uiring the parties to mediate. I anticipate the motion will be set for
hearing on May 4, 2017 in front of Chancellor Woodruff.
We are also going to file a motion for summary judgement. First, we will argue that the Defendants committed the first material breach of the contract by failing to pay the final
invoices. Second, we will submit that, at a minimum, C3 is entitled to judgment as to the costs incurred and reflected on the final unpaid invoices. We have analy ed C3's records
and feel that we can establish the costs with the invoices and an affidavit from Mr. Berryessa.
Finally, we will argue that the defendants counterclaim should be dismissed as a matter of law. The basis of the counterclaim is that C3 was unlicensed. Based on the
applicable version of the statutes and case law, C3 was licensed. The case of Anchor Pipe Co., Inc. v. Sweeney-Bron e Dev., LLC., 2012 WL 3144638 (Tenn. Ct. App. Aug. 2,
2012) is directly on point. In this case, the Court of Appeals held that a contractor who contracts above his monetary limit is not an unlicensed contractor for purposes of the
Contractors Licensing Act of 1994.
We fully expect to file the motion for summary judgment within the next 2-3 weeks.



3/28/17 Spoke with Trajan Carney. Will have motion filed this week. (probably motion to set) ph    615 369 3306.

2/2/17 Holding open for breach of contract suit. Defendant representing himself. Related case (C3 Contstruction 11-06997).

7/29/16 lawsuit against subdivision clubhouse still active. Expect something to happen by Spring

6/27/15 Lawsuit still pending. Trustee's law firm had a shake up. Suit should be back on track.

1/28/15 Exact value in lawsuit is unknown.

Lawsuit still in progress. All assets fully administered.

7/25/14 lawsuit in progress

12/6/12-- Statement of Disinterest sent to Todd, Floyd & Hammet Filed (pending Breach of Contract) to hire as attorneys.

Holding open for breach of contract suit. Debtor representing himself. Related case (Berryessa 11-06996).




Initial Projected Date of Final Report (TFR): 12/31/2012             Current Projected Date of Final Report (TFR): 02/15/2019

Trustee Signature:        /s/ LARRY EDMONDSON               Date: 07/31/2018
                          LARRY EDMONDSON
                          800 Broadway, 3rd Floor
                          Nashville, TN 37203
                          (615) 254-3765




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